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                                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


                                                               CHARLESTON DIVISION


IN RE: BOSTON SCIENTIFIC CORP.            ]
PELVIC REPAIR SYSTEM                      ]
PRODUCTS LIABILITY LITIGATION             ]
                                          ]                                          MDL NO. 2326
__________________________________________]



     UNOPPOSED MOTION FOR APPROVAL OF QUALIFIED SETTLEMENT FUND

              Blasingame, Burch, Garrard & Ashley, P.C. (“BBGA”), as counsel for certain plaintiffs in

this MDL 2326, hereby moves the Court for entry of an Order to aid in the efficient processing

and administration of a Confidential Master Settlement Agreement (the “Settlement Agreement”)

between Defendant Boston Scientific Corporation and its parent and subsidiary companies

(“BSC”) and BBGA to resolve the claims of certain claimants against BSC relating to BSC Pelvic

Products (as defined in the Settlement Agreement).1 BSC does not oppose the motion.

              This Motion seeks an Order (1) approving the Escrow Agreement (“Escrow Agreement”),

attached hereto as Exhibit A, which forms a settlement escrow account (“Settlement Escrow”),

(2) retaining continuing jurisdiction and supervision over the Settlement Escrow, and (3)

determining that the Settlement Escrow, including any subaccounts thereof (“Accounts”), together

constitute a single “qualified settlement fund” within the meaning of section 468B of the Internal




                                                            
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  The Settlement Agreement has been executed by BSC and BBGA consistent with the Joint Report re: Settlement
Negotiations submitted to the Court. The Settlement Agreement is not being filed with the Court because it contains
confidential terms. Disclosure of such confidential information concerning the terms of the settlement would not be
consistent with this Court’s stated goal of achieving a resolution of claims in this MDL through confidential
negotiation and settlement.

 
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Revenue Code of 1986, as amended (“Code”) and Treasury Regulation sections 1.468B-1, et. seq.

(“Regulations”).

         BSC and BBGA have agreed to establish the Settlement Escrow as a “qualified settlement

fund” under the Code, subject to Court approval. The exact allocation among and distribution to

covered claimants, or any other persons or entities asserting a claim of subrogation or

reimbursement, has not been finalized at this time. Payment by BSC of required settlement

amounts into a qualified settlement fund will afford BBGA and the Special Master named in the

Settlement Agreement time to determine appropriate distribution amounts among participating

claimants as well to identify and resolve liens and/or subrogation rights, while knowing that funds

are available and held by a third party. The Court should approve the establishment of the

Settlement Escrow as in the best interest of BSC, BBGA and the claimants covered by the

settlement. In particular, the establishment of the Settlement Escrow as a “qualified settlement

fund” under the Code and Regulations, subject to the Court’s continuing jurisdiction, is vital to the

satisfaction of the objectives of the Settlement Agreement. Without approval by, and continuing

jurisdiction of, the Court, the Settlement Escrow would not satisfy the requirements of the section

1.468B-1(c)(1) of the Regulations, which requires that a qualified settlement fund be “established

pursuant to an order of, or is approved by, the United States, any state (including the District of

Columbia) territory, possession, or political subdivision thereof, or any agency or instrumentality

(including a court of law) … and is subject to the continuing jurisdiction of that governmental

authority.”

         The Settlement escrow will qualify as “qualified settlement fund” under section 468B of

the Code and sections 1.468B-1, et. seq. of the Regulations, as: (1) the Settlement Escrow is being

established subject to approval of the Court, and will be operated pursuant to the terms and

conditions of the Escrow Agreement; (2) the Settlement Escrow will be subject to the continuing

 
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jurisdiction and supervision of the Court; (3) the Settlement Escrow is being established to resolve

or satisfy claims of alleged tort or violation of law arising out of implantation of one or more Pelvic

Repair Products as defined in the Settlement Agreement; and (4) the Settlement Escrow will be an

escrow account, and its assets will be segregated from the general assets of BSC and deposited

therein. The Escrow Agreement will establish Accounts to be used solely for permissible purposes

in administering the Settlement Agreement, and, with approval of BSC and BBGA, the Escrow

Agent may establish additional Accounts for purposes of administration of the Settlement

Agreement. The Settlement Escrow, including all Accounts which may be established, together

constitute a single qualified settlement fund.

         BBGA also hereby requests that the Court approve the appointment of Wells Fargo

National Bank as the escrow agent of the Settlement Escrow (the “Escrow Agent”) to administer

the Settlement Escrow pursuant to the terms of the Escrow Agreement. The funds held by the

Escrow Agent in the Settlement Escrow shall be disbursed by the Escrow Agent only pursuant to

and in conformance with the terms of the Escrow Agreement and the Settlement Agreement, which

also include provisions for payments into the MDL No. 2187 Fund. The Escrow Agent shall further

serve as the “administrator” of the Settlement Escrow as a “qualified settlement fund” within the

meaning of section 1.468B-2(k)(3) of the Regulations.

                                          CONCLUSION

         For the reasons stated above, BBGA respectfully requests that the Court approve

establishment of the Settlement Escrow as a qualified settlement fund, and enter an Order in the

form submitted herewith.




 
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Respectfully submitted,


/s/ Henry G. Garrard, III
Henry G. Garrard, III
Blasingame, Burch, Garrard & Ashley, P.C.


Attorneys for Plaintiffs




 
